                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                                )
                                                        )
                                                        )
v.                                                      )     Criminal No. 3:13-cr-00162-1
                                                        )     Judge Trauger
[1] WENDY ASKINS                                        )


                                              ORDER

       Attached to this Order is a letter received by the court from Laura Militana, a reporter for

the Herald-Citizen newspaper in Cookeville, Tennessee concerning this case. The court will

convene a telephone conversation with counsel for the parties on Friday, September 18, 2015 at

1:00 p.m. in order to discuss this request to unseal.

       It is so ORDERED.

       ENTER this 16th day of September 2015.



                                                        ________________________________
                                                        ALETA A. TRAUGER
                                                        U.S. District Judge




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